Case 1:05-cr-01849-JCH Document 1249-1 Filed 03/19/08 Pageiof8

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
UNITED STATES GF AMERICA,

Plaintiff,

No: 05-CR- 1849 (JH)

DANA JARVIS,

Defendant.

AFFIDAVIT OF JODY NEAL-POST, CJA APPOINTED COUNSEL, IN
SUPPORT OF DANA JARVIS’ MOTION TO RECONSIDER SANTIONS

ORDER, DOC, 1236

STATE OF NEW MEXICO}

} 85
COUNTY OF BERNALILLO }
1. My name is Jody Neal-Post. I am over the age of eighteen and competent to attest
to the matters set forth herein. I am a licensed attotney in good standing in the State of
New Mexico, Federal District of New Mexico, Tenth Circuit Court of Appeals and the

United States Supreme Court.

2. Tam court-appointed C)A co-counsel in this cause, US_4 2. Daga fares, 1:05cr1B49.
Case 1:05-cr-01849-JCH Document 1249-1 Filed 03/19/08 Page 2of8

3. Before filing Doc. 1226 in the above titled matter, 1 made the following efforts in
an exercise of due diligence to acquire access to all my client’s pleadings herein. Except as
may otherwise be identified, I have contemporaneous documentary evidence of all the
efforts of due diligence listed below in the form of my contempotaneously created C)A
time sheets, submitted under penalty of perjury as accurate, and or in the form of emails
contemporanecously created and currently in my possession.

a. Friday October 19, 2007: 1 wrote co-counsel Romero’s office that document
1090, seeking sealing of attorney client related matters wasn’t accessible to me and didn’t
show on the docket as a docket query. I asked Mr. Romero’s staff to call the clerk;

b. Sunday November 4, 2007: I wrote Mr. Jarvis’ defense teatm that co-
Defendant Wilson’s Motion regarding conilicts was showing on the docket set for hearing
and the Jarvis counsel wete not noticed of the hearing set 4 days earlier, Doc. 1103;

c, Monday November 5, 2007: I communicated to Mx, Romero’s office that we
necded to verify with the clerk’s office that service would be made on Mr. Wilson’s
counsel of filing 1109. Co-counsel Romero advised chambers the sealed pleading was
coming and that.we were seeking the court’s determination of the parties it would allow
served the sealed pleadings and we requested the Court make service commensutate with,
the order the Court eventually entered on the sealing;

d. Monday November 5, 2007: Doc, 1109 successfully filed a parte on co-

counsel Romero’s fling ID. I received notice but could not open on my ID. Terminated
Case 1:05-cr-01849-JCH Document 1249-1 Filed 03/19/08 Page 3of8

counsel for Mr. Jarvis McIntrye continues to show as recetving NEFs;

e. Friday November 9, 2007: AUSA Braun notified me that a filing mentioned
in out teply brief on the motion to dismiss had never been served on the United States.
AUSA Braun advised he could not get into sealed pleadings and I wrote him back that }
was also unable to get into the sealed pleadings. I explained that Joe and I tried to work
around that by his office saving PDPs of the documents and then sending them to me. I
asked the United States if they believed they had copies of everything they were supposed
to have, T advised them I would try and get them anything they couldn’t open from Joe’s
office if J could, if they told me what documents they needed.

f. Friday November 9, 2007: I directed Matt Lopez, Joe Romerc’s paralegal, to
see if he could resolve the Doc. 1109 issues with Joe Murphy at District Court. Matt and
Joe Murphy worked on it together over two hours and all involved were trying to correct
the electronic filing.

fg. Thursday November 15, 2007: In email dialogue with AUSA Braun and Mr.
Wilson’s counsel, I advised that Mr. Romero’s office and I personally were still working
with the clerk’s office “to determine what has occurred to our filing of response [Dac.
1109] to Mr. Gorence’s motion.” I further reported to all counsel that the issues with
Doc. 1109 had been “left with the clerk’s office to perfect filing as it appeated the system
could not accommodate a responsive pleading between defendants and on top of that, it

was to be a sealed pleading.”
Case 1:05-cr-01849-JCH Document 1249-1 Filed 03/19/08 Page 4of8

bh. Thursday November 15, 2007: I spent an hour working with Debbie in the
clerk’s office regarding Doc. 1109, Tadvised counsel that Debbie had determined from
the docket record that Mr. Gorence had never been served, “and, in fact, that the clerk’s
office had withdrawn filing 1109, for reasons that are not yet clear. Debbie is
investigating and has promised to alert Lincoln and respond to me when she has
determined the status of that filing and, if needs be, what must be done to correct it.” I
inquired of Mr, Gorence in the same correspondence it he could confirm whether or not
he was served with Doc. 1109. Mr. Gorence responded that he had not been served. 1
further advised all counsel later that morning that Debbie had reinstated Doc. 1109 to the
docket to the actual date of filing, but that 1t was missing an attachment. I confirmed that
no service showed on the record for Mr. Wilson’s counsel and advised all counsel that
Matt Lopez would make personal hand service of hard copies to Mr. Wilson’s counsel
that day, which Matt Lopez did actually make.

i, Tuesday November 20, 2007; I explained on the record in the heating
before Judge Herreta that we continued to have docket access problems.

j- Monday December 10, 2007: I corresponded with AUSAs Braun and Kotz
and Mr. Wilson’s co counsels to verify they had recetved the latest sealed filing.

k. Tuesday December 11, 2007: I corresponded with Lincoln Sorrell, copied to
AUSA Braun and Mr. Romero, regarding the certificate of service for the sealed materials

Mr. Jatvis was submitting to the Chief Magistrate Judge. I noted in the correspondence
Case 1:05-cr-01849-JCH Document 1249-1 Filed 03/19/08 Page 5of8

that the record difficulties continued for everyone, and pointed out that the Court’s
designation order, fled on Mr. Jarvis’ motion and to which co-Defendant Wilson was not
a patty, was entered with the Wilson case caption instead of Mr. Jarvis’. I stated “The
record is difficult for everyone.”

L. Thursday December 27, 2007: Linguired at Mr. Romero’s office if he was
receiving the BER rn this case. His office responded that the ECFs had been
discontinued to Mr. Romero when the order allowing him to withdraw had been entered,
despite the same order continuing Mr. Romero in a transitional capacity until Mr. Jarvis’
new counsel got up to speed. As a consequence, Mr, Romero has been rendered unable to
stay up to date on the case and advise on current matters since his National Guatd
activation, as he cannot access the docket in his transition capacity.

m. Thursday December 27, 2007: I advised Mr. Roemro’s office chat I would
call Joe Murphy again and see if he could asaist as other terminated coutisel for Mr, Jarvis,

NEF & gn (
Mr. McIntyre and Ms. Eckert, were stil getting REFs while Mr. Rometo was not. Joe
Murphy offered his best efforts with the goal that I would have full docket access by the
end of the day. He wasn’t able to correct the access difficulties that day, and advised later
on that was unable to get the system to override the word “withdrawal” such that the
docket would reflect the directives of the Court’s order allowing withdrawal- that Mr.
Romero was both terminated as counsel and still entitled to nouces on Mr. Jarvis’ behalf

in his transition counsel capacity;
Case 1:05-cr-01849-JCH Document 1249-1 Filed 03/19/08 Page 6of8

n. Friday December 28, 2007: Correspondence between myself, Court,
chambets and the clerk’s office regarding the revelation of CUA billing information in the
docket title entries. I requested that such detail be left out of the titles of the entries as
compensation information is confidential, Bernadette Williams worked with docketing
through the morning until she reported that the descriptions reflecting payecs and
amounts had been deleted from the docket;

o. Wednesday January 23, 2008: I corresponded with Joe Murphy again
advising I could not access “my own client's documents as of today.” I asked for
assistance, including the mquity, “if it is some error on my end, help me understand how
to access Mr. Jarvis’ docket?”

p. Wednesday january 23, 2008: Mr. Murphy immediately tesponded to me
and asked me to call Marty Silva in Las Cruces District Court. I called her and she
attempted to resolve the issues and she advised that she thought she could resolve some
of it by week's end.

q Docket access was not achieved by week’s end.

ik February 6, 2008: Current co-counsel Mr. Mitchell was appointed.

8 February 21, 2008: Mr. Mitchell advised me that his staff could not access
all the documents and he enquired if I could, T explained the docket access history to him.
and that the problems remained as of that day, referring to Doc. 1225, J also advised Mr.

Mitchell of the client’s continuing, frustration that we had not yet filed a Motion to resolve
Case 1:05-cr-01849-JCH Document 1249-1 Filed 03/19/08 Page 7of8

the issue.

t February 21, 2008: I called AUSA Braun for a positon on Mr. Jarvis’
motion for docket access. In a phone conversation lasting 2 hours, Mr. Braun and I
discussed the docket access issues and work arounds suggested by the United States,
including his suggestion that we make paper filings for sealed materials. AUSA Braun.
advised that the docket issues were far greater than I knew of and that they crossed many
cases. I thanked him for informing me of the bigger picture he was aware of and I was
not, presumably due to his much larger fedetal case load than I have in my practice.

u. Mt. Jarvis’ counsels together filed the Motion seeking docket access at Doc.
1226.

v. In the process of drafting Mr. Jarvis’ Motion to Reconsider on March 18,
2008, I tan into document titles in the Jarvis docket, retrieved through use of my
CM/ECF ID and the selection of “all defendants,” that appeared to be sealed documents
of other defendants with a “live” link. Two such documents counsel attempted to open
relating to other defendants were Doc.687 regarding another defendant’s CJA matters and
a plea of another defendant, noted as “SEALED” at Doc. 734. Both sealed documents of
other defendants were accessible to me using my CM/ECF filing TD. I reported this to
affected counsel for Doc. 687 who responded to me today that I should not have been,

able to open this sealed document.
Case 1:05-cr-01849-JCH Document 1249-1 Filed 03/19/08 Page 8of8

FURTHER AFFIANT SAYETH NAUGHT.

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This Say of Match 2008.

Sworn to and subsctibed before me this Le. day of March, 2008.
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. My commission expites: SS; Vo ff

